                             Case 2:18-cv-01219-APG-VCF Document 71 Filed 11/15/21 Page 1 of 3



                       1 DENNIS M. PRINCE
                         Nevada Bar No. 5092
                       2 ANGELA M. LEE
                         Nevada Bar No. 14905
                       3 PRINCE LAW GROUP
                         10801 W. Charleston Blvd., Suite 560
                       4 Las Vegas, NV 89135
                       5 Tel: (702) 534-7600
                         Fax: (702) 534-7601
                       6 E-Mail: eservice@thedplg.com
                         -and-
                       7 FARHAN R. NAQVI
                         Nevada Bar No. 8589
                       8 NAQVI INJURY LAW
                         9500 W. Flamingo Road, Suite 104
                       9 Las Vegas, NV 89147
                         Tel: (702) 553-1000
                      10 Fax: (702) 553-1002
                         E-Mail: naqvi@naqvilaw.com
                      11 E-Mail: paul@naqvilaw.com
                         Attorneys for Plaintiff
                      12
                      13                         UNITED STATES DISTRICT COURT

                      14                               CLARK COUNTY, NEVADA
                      15
                            LILIA JARRELL,                                 Case No.: 2:18-cv-01219-APG-VCF
                      16
                                          Plaintiff,                       STIPULATION AND ORDER TO
                      17                                                     CONTINUE TRIAL (THIRD
                            vs.                                                    REQUEST)
                      18
                            WAL-MART STORES, INC.; WALMART INC.
                      19    d/b/a  WALMART      #2593;     INLAND
                            DIVERSIFIED LAS VEGAS EASTERN
                      20    BELTWAY, LLC; THE INLAND REAL
                            ESTATE GROUP, INC.; INLAND REAL
                      21    ESTATE INVESTMENT CORPORATION;
                            DOES   1   through   100   and     ROE
                      22    CORPORATIONS 1 through 100, inclusive,
                      23                 Defendant.
                      24
                      25          Plaintiff LILIA JARRELL (“Plaintiff”), by and through her attorneys of record,
                      26 Dennis M. Prince and Angela M. Lee of PRINCE LAW GROUP, and Farhan R. Naqvi
                      27 and Paul G. Albright of the law firm NAQVI INJURY LAW, and Defendants WAL-MART
                      28 STORES, INC.; WALMART INC. d/b/a WALMART #2593 (hereinafter collectively


10801 W. Charleston Blvd.
        Suite 560
   Las Vegas, NV 89135                                           Page 1 of 3
                                 Case 2:18-cv-01219-APG-VCF Document 71 Filed 11/15/21 Page 2 of 3



                            1 referred to as “Defendant Walmart”), by and through their attorneys of record, Robert
                            2 K. Phillips and Timothy D. Kuhls of the law firm PHILLIPS, SPALLAS & ANGSTADT,
                            3 LLC, submit this STIPULATION AND ORDER TO CONTINUE TRIAL for the
                            4 Court’s consideration.
                            5        Good cause exists for continuing the trial date. The parties have diligently
                            6 prosecuted and defended this case, and have only requested short extensions of time
                            7 previously. The first extension was a result of the parties’ stipulation to continue trial
                            8 on October 14, 2020 (ECF 43, 44). The second extension was a result of the parties’
                            9 stipulation to continue trial on February 10, 2021 (ECF 52, 53).
                      10             The parties have been diligent in this matter, but unforeseen circumstances have
                      11 made attending trial in December difficult. Additionally, Defendant’s expert, Dr.
                      12 McIntire is not available to testify the week of December 13th. Accordingly, judicial
                      13 economy and efficiency favor a brief continuance of the trial in this matter. The parties
                      14 have also been working together in an attempt to settle this matter. A continuance of
                      15 trial will provide additional time for the parties to discuss settlement negotiations.
                      16 Moreover, should those negotiations not be successful, a brief extension of time will
                      17 provide the parties an opportunity to more fully prepare for trial in order to present
                      18 thorough and well briefed claims and defenses. Furthermore, continuing trial may allow
                      19 another unresolvable matter on the Court’s lengthy trial stack to proceed to trial in a
                      20 more timely manner. Lastly, in the event the parties are unable to resolve this matter,
                      21 they will require some time to determine the availability and travel capabilities of
                      22 various witnesses and experts that reside out of state.
                      23             Accordingly, the parties are requesting a continuation of the trial date. The
                      24 current trial date is December 13, 2021, with the Calendar Call on November 23, 2021.
                      25 The parties respectfully request that the trial in this matter be continued to this Court’s
                      26 February trial stack, or as soon thereafter as this matter may be heard. This will allow
                      27 the parties an adequate opportunity to further pursue resolution, as detailed above. The
                      28 parties likewise request a continuance of all other deadlines associated with trial in


10801 W. Charleston Blvd.
        Suite 560
   Las Vegas, NV 89135                                                Page 2 of 3
                                 Case 2:18-cv-01219-APG-VCF Document 71 Filed 11/15/21 Page 3 of 3



                            1 accordance with the new trial date, including the deadline for filing motions in limine.
                            2 This Stipulation to Continue Trial is made in good faith and not for purposes of delay.
                            3
                                DATED this 12th day of November, 2021             DATED this 12th day of November, 2021
                            4
                            5   PRINCE LAW GROUP                                  PHILLIPS, SPALLAS & ANGSTADT
                            6   /s/ Dennis M. Prince                              /s/ Timothy Kuhls
                            7   ________________________________                  _______________________________
                                DENNIS M. PRINCE                                  ROBERT K. PHILLIPS
                            8   Nevada Bar No. 5092                               Nevada Bar No. 11441
                                ANGELA M. LEE                                     TIMOTHY D. KUHLS
                            9   Nevada Bar No. 14905                              Nevada Bar No. 13362
                                10801 W. Charleston Blvd., Suite 560              504 South Ninth Street
                      10        Las Vegas, NV 89135                               Las Vegas, Nevada 89101
                                -and-                                             Attorneys for Defendants
                      11        FARHAN R. NAQVI
                                Nevada Bar No. 8589
                      12        PAUL G. ALBRIGHT
                                Nevada Bar No. 14159
                      13        NAQVI INJURY LAW
                                Nevada Bar No. 14159
                      14        9500 W Flamingo Road, Suite 104
                      15        Las Vegas, Nevada 89147
                                Attorneys for Plaintiff
                      16
                      17                                                     ORDER
                      18
                                 The December 2021 trial dates and the November 2021 Master Trial Scheduling Conference
                      19         are vacated.
                      20
                                 Calendar Call is continued to February 22, 2022, at 9:00 a.m. in Courtroom 6C.
                      21
                                 Jury Trial is continued to February 28, 2022, at 9:00 a.m. in Courtroom 6C.
                      22
                      23         Motions in limine deadline is continued to January 24, 2022.
                      24
                      25
                                                                       IT IS SO ORDERED:
                      26
                      27                                               _________________________________________
                                                                       UNITED STATES DISTRICT JUDGE
                      28

                                                                               November 15, 2021
                                                                       DATED: _________________
10801 W. Charleston Blvd.
        Suite 560
   Las Vegas, NV 89135                                                     Page 3 of 3
